    Case 1:17-cv-00181-MPT Document 49 Filed 12/28/17 Page 1 of 5 PageID #: 436



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

JAMES R. ADAMS,                                   )
                                                  )
        Plaintiff,                                )
                                                  )
        v.                                        )   C.A. No. 17-181-MPT
                                                  )
THE HON. JOHN CARNEY,                             )
Governor of the State of Delaware,                )
                                                  )
        Defendant.                                )

               DEFENDANT’S REPLY IN SUPPORT OF HIS MOTION FOR
                      RECONSIDERATION/CLARIFICATION

        This is Defendant’s Reply in Support of his Motion pursuant to Fed. R. Civ. P. 60 and

D. Del. L.R. 7.1.5 seeking clarification of three issues and in response to Plaintiff’s opposition to

that motion.1 The first issue is whether the Court intended to adjudicate the constitutionality of

the Family Court and Court of Common Pleas provisions of Article IV, Section 3. The Court

concluded that Plaintiff lacked standing to challenge the Bare Majority provisions applicable to

the Family Court and Court of Common Pleas. (D.I. 40 at 7). In response, Plaintiff contends

that “[w]hether or not Adams had standing to challenge the political restrictions as to those

courts, the reasoning of this Court is applicable to all Delaware State Courts.” (D.I. 43 at 2).

Plaintiff does not dispute (1) that this Court found he lacked standing to challenge the Bare

Majority provisions pertaining to the Family Court and the Court of Common Pleas or (2) that

this Court did not adjudicate the constitutionality of those provisions. Rather, Plaintiff asserts

that the rationale and holding of this Court in connection with different provisions governing the

1
  Each of the issues turns on the distinction between the provisions that require every judicial
nominee to be a member of one of the two major political parties, denominated in the briefing as
the “Majority Political Party Component” (D.I. 29 at 5, n.2), and those mandating that no
political party have more than a bare majority of the membership of a court, denominated in the
briefing as the “Bare Majority Component” (Id. at 5, n.1).
 Case 1:17-cv-00181-MPT Document 49 Filed 12/28/17 Page 2 of 5 PageID #: 437



Supreme and other courts is stare decisis with respect to the Family Court and the Court of

Common Pleas. Even were that correct, stare decisis is a different doctrine and would not

operate as an actual adjudication in this case. Consequently, Plaintiff implicitly concedes that

the actual order in this case cannot reach either the Family Court or the Court of Common Pleas.

The stare decisis effect of this Court’s ruling on the Family Court and the Court of Common

Pleas, if any, must be examined in a future case, where a plaintiff has standing to raise the issue.

       The second issue is whether Plaintiff has standing to challenge the Bare Majority

provisions applicable to the Supreme Court, Superior Court and Court of Chancery, as distinct

from the provisions mandating affiliation with one of the two major political parties. For the

same reason that Plaintiff lacks standing to challenge the Bare Majority provisions applicable to

the Family Court and the Court of Common Pleas, the Plaintiff lacks standing to challenge those

provisions in connection with the three remaining courts: they pose no obstacle to an

Independent like Plaintiff.    Plaintiff could not be nominated to the three remaining courts

because he was neither a Republican nor a Democrat; he was not impacted by the Bare Majority

provisions related to any court and therefore lacks standing to challenge all of them. Plaintiff

does not dispute this point in his response or attempt to explain how he could lack standing to

contest the Bare Majority provisions applicable to the Family Court and the Court of Common

Pleas, but have standing to challenge the same provisions relating to other courts. (D.I. 43 at 1).

       The third issue is whether this Court has adjudicated the constitutionality of the Bare

Majority provisions applicable to the Supreme Court, the Superior Court and the Court of

Chancery. The Bare Majority provisions are distinct from the Majority Political Party provisions,

and they are fundamentally different in purpose and effect. In his response, Plaintiff inaccurately

and illogically equates the two when criticizing this Court’s determination that he lacked



                                                  2
 Case 1:17-cv-00181-MPT Document 49 Filed 12/28/17 Page 3 of 5 PageID #: 438



standing. (D.I. 43 at 1, n.1). But, the Bare Majority provisions do not mandate membership in

one of the two major political parties. The only person who could possibly have standing to

challenge a Bare Majority provision on First Amendment grounds is a member of a party that

already holds a majority of the seats on a court.     If someone raises such a challenge in the

future, the constitutional analysis will be different from the analysis this Court employed in

connection with the Majority Political Party Component. The Bare Majority Component is not

aimed at the political affiliation of nominees, but rather at the structure of the Court in its

entirety. Other courts have recognized this distinction. See McCloud v. Testa, 97 F.3d 1536,

1557 (6th Cir. 1996) (effectively recognizing that statutes requiring political balance on

governmental bodies are not prohibited by the First Amendment and citing in support Branti v.

Finkel, 445 U.S. 507, 518 (1980)).       Otherwise, existing federal statutes requiring political

balance would be deemed unconstitutional. See, e.g., 15 U.S.C. § 78d(a) (political balance

required on the SEC) (cited in D.I. 29 at 5).

       For the foregoing reasons, Defendant seeks clarification that this Court’s grant of

summary judgment (1) does not apply to the Family Court or the Court of Common Pleas and (2)

does not invalidate the Bare Majority provisions applicable to the Supreme Court, the Superior

Court or the Court of Chancery, either because Plaintiff lacks standing to challenge such

provisions or because those provisions are fundamentally different from the provisions

mandating party membership. If the Court deems it appropriate, Defendant is prepared to submit

supplemental briefs on the constitutionality of the Bare Majority Component.




                                                3
 Case 1:17-cv-00181-MPT Document 49 Filed 12/28/17 Page 4 of 5 PageID #: 439



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Dated: December 28, 2017




                                      4
           Case 1:17-cv-00181-MPT Document 49 Filed 12/28/17 Page 5 of 5 PageID #: 440



                                         CERTIFICATE OF SERVICE


                I, David C. McBride, hereby certify that on December 28, 2017, I caused to be

         electronically filed a true and correct copy of the foregoing document with the Clerk of the Court

         using CM/ECF, which will send notification that such filing is available for viewing and

         downloading to the following counsel of record:

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                I further certify that on December 28, 2017, I caused the foregoing document to be served

         via electronic mail upon the above-listed counsel.


         Dated: December 28, 2017                                YOUNG CONAWAY STARGATT &
                                                                 TAYLOR, LLP

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